C£\` Case 1:04-cr-10062-.]DT Document 69 Filed 08/08/05 Page 1 of 3 Page|D 71

IN Tl-[E UN'[TED STATES DISTRICT COURT

 

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v. * cR. No_ 04_,1/0062$

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MicHAEL JACKSON

Defendant.

MOTION To CONTINUE sENTENCING j
/

Cornes now Defendant by and through appointed counsel and/Moves this Honorable Court

/
to continue the sentencing presently set for Tuesday, August 9,/_2/005. In support of this motion

Defendant would state: /

l. Defense counsel received the pre sentence rep rt on July 12, 2005 and has met with

Defendant to review same Defendant does have substa ve objections to the report and Defendant’s

' ntly being drafted by counsel Due to counsel’S

 

Position with Respect to Sentencing Factors is cui

schedule and obligations for court appe§.'ances in other matters, counsel has not had adequate

,,./ , .
opportunity to complete such re ponse. Counsel cannot effectively represent Defendant without

    

additional time in which prepare and file the response

2. Defense/counsel has consulted with government counsel and there is no opposition to the

reliedC requested

Pr/ernises considered, Defendant moves that the sentencing be continued for a short period

§§De@ 'ant vs§uld suggest the date of August ].7, 2005, in the event such date is available with the

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with F\u|e 55 and!or 32[b) FHCrP on (/y James D, Tod_d'_
U

.S. Distrr`ct Judge é??

Case 1:04-cr-10062-.]DT Document 69 Filed 08/08/05 Page 2 of 3 Page|D 72

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M. Dianne Snréthers [011874]
Assistant Federal Defender
109 S. Highland Ave., Rm. B-S
Jackson, TN 38301
PhOne: (731)427-2556

CERTI'FICATE OF SERVICE

The undersigned hereby ceitiiies that a true and exact copy of the foregoing was served upon
all interested parties by either hand delivery or by mailing same, postage prepaid to the following:

Mr. James Powell

Assistant United States Attorney
109 South Highland, Suite 300
Iackson, Tennessee, 38301

This the g day of § iii 35 f 2005
\\\\Au/du

M_. Dianne Srnothers/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 iii
case l:04-CR-10062 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

